     Case 1:07-cr-00013-AW-GRJ           Document 66       Filed 11/06/07     Page 1 of 1


                                                                                        Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:07-cr-00013-MP-AK

RONALD W. CLAFFEY,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 65, Motion to Continue Sentencing Hearing, filed

by Defendant Claffey. In the motion, Defendant states that counsel has a scheduling conflict

which prevents him from attending the sentencing hearing. Because of this, Defendant requests

that his sentencing hearing, currently set for November 15, 2007, be continued. The

Government does not object to Defendant’s motion. Therefore, Defendant’s motion is granted,

and the sentencing hearing is hereby reset for Wednesday, November 28, 2007, at 9:30 a.m.


       DONE AND ORDERED this            6th day of November, 2007


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
